Case 8:17-mc-00109-CEH-AEP Document 32 Filed 11/21/17 Page 1 of 3 PageID 115

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

SEALED UNIT PARTS CO., INC.,

               Judgment Creditor,
vs.                                                  Case No.: 8:17-mc-00109-CEH-AEP

SYCOM SURGE, INC. N/K/A BREN
TUCK, INC.; MARK TUCKER; DAVID
ROSS BRENNAN; and TURNER SOLUTIONS, INC.,

               Judgment Debtors,

and

BRANCH BANKING AND TRUST COMPANY,

            Garnishee.
_______________________________________/

                         ANSWER TO WRIT OF GARNISHMENT

       COMES NOW, Garnishee, BRANCH BANKING AND TRUST COMPANY

(“BB&T”), by and through its undersigned counsel and files its answer to Plaintiff’s Writ of

Garnishment and states as follows:

       1.      Garnishee was not indebted and has not had any goods, monies, chattels or effects

of Defendant(s), at the time of service of the Writ of Garnishment served upon the Garnishee and

at the time of its answer and at all times between service and its answer except for the following:

ACCOUNT TYPE
AND NUMBER                    NAME AND ADDRESS                       AMOUNT IN ACCT.

Checking Account              Lauren Jones Irrevocable Trust         $4,452.95
#xxxx8603                     TTE Mark Tucker                        Holding pursuant to
                              TTE David Ross Brennan                 Writ of Garnishment
                              1217 Robinson Dr N
                              Saint Petersburg, FL 33710

Checking Account              Mark Tucker                            $129.21
#xxxx9840                     1217 Robinson Dr N                     All Funds are Exempt
                              Saint Petersburg FL 33710              Per 31 C.F.R Part 212.
Case 8:17-mc-00109-CEH-AEP Document 32 Filed 11/21/17 Page 2 of 3 PageID 116

                                                                  No funds are subject to Writ
                                                                  of Garnishment

Checking Account             Justin D Turner                      $218.27
#xxxx6606                    Mark Tucker                          Holding pursuant to
                             5761 11th Ave N                      Writ of Garnishment
                             St. Petersburg, FL 33710-6437

Savings Account              Mark Tucker                          $105.00
#xxxx6387                    1217 Robinson Dr N                   Holding pursuant to
                             Saint Petersburg FL 33710            Writ of Garnishment

Checking Account             Turner Solutions Inc                 $42,170.00
#xxxx5931                    DBA Sycom Surge Solutions            Holding pursuant to
                             PO Box 17209                         Writ of Garnishment
                             Clearwater, FL 33762-0209

       2.      The Garnishee has no obligation to make, and has not made, a factual

determination whether the property, if any, of the Defendant(s) in it possession or control is

subject to any exemption provided to the Defendant(s) by State or Federal Law.

       3.     Garnishee has employed the services of the undersigned law firm to represent

Garnishee in these garnishment proceedings. Garnishee DEMANDS the statutory allowance

from the Plaintiff payable to BRANCH BANKING AND TRUST COMPANY, as compensation

to be applied towards Garnishee’s reasonable attorney’s fee.



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

CM/EMF and/or U.S. Mail this 21st day of November, 2017 to

Michael H. Moody, Esquire
Greenberg Taurig, P.A.
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Case 8:17-mc-00109-CEH-AEP Document 32 Filed 11/21/17 Page 3 of 3 PageID 117

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                                  Attorneys for BB&T

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